      Case 1:18-cr-00309-LMM-LTW Document 131 Filed 09/22/21 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

CRIMINAL TRIAL CALENDAR COMMENCING THURSDAY, OCTOBER 21, 2021 at
9:00 AM, IN COURTROOM 2107, UNITED STATES COURTHOUSE, 75 TED TURNER
DR., S.W., ATLANTA, GA, 30303, BEFORE THE HONORABLE LEIGH MARTIN MAY.
TRIAL WILL BE HELD THE WEEK OF OCTOBER 21, 2021. THERE WILL BE NO
CALENDAR CALL.

Attention All Counsel:
   1) A pretrial conference is set for Wednesday, October 13, 2021 at 10:00 AM
   2) The Government’s summary of Indictment is due: NOON on Wednesday,
      September 29, 2021
   3) Motions in Limine and Proposed Voir Dire Questions are due: NOON on
      Wednesday, September 29, 2021
   4) Objections to Motions in Limine, objections to Proposed Voir Dire Questions, and
      Defendant(s) objections to the Government’s summary of Indictment are due: NOON
      on Wednesday, October 6, 2021.
   5) Requests to Charge and verdict forms are due: NOON on Wednesday, October
      20, 2021. Requests to Charge and the verdict form should be filed on CM/ECF and
      emailed to Ms. Poley in Word format.

The Court requires the parties email an exhibit and witness list to the Courtroom Deputy Clerk
by Wednesday, October 20, 2021. The list shall contain an identifying description of each
exhibit to the right of the exhibit numbers. The list shall be double spaced with approximately
1.5 inches of space to the left of the number for court use. Additionally, the parties are required
to deliver to chambers the morning of trial a tabbed exhibit notebook for the Court’s use.

Counsel shall comply with the Local Rules of this Court regarding exhibits. Any exhibit larger
than 8 ½ x 11 will be returned to counsel pursuant to L.R. 79.1(B)(5). Within ten (10) day
following the conclusion of a trial or hearing, all parties must file photographs or other
appropriate reproductions of oversized and non-documentary exhibits admitted as evidence
at the trial or hearing.

Courtroom 2107 is technology equipped. You are required to schedule a training
session prior to the trial date if you intend on using the courtroom technology.
The Court will not allow time for training at the beginning of the trial.

It is the responsibility of counsel to immediately notify the Courtroom Deputy if the
defendant requires interpretive services for any court proceeding so that services can be
arranged. It is the responsibility of counsel to arrange interpretive services for any witnesses
needing the assistance of an interpreter for any court proceeding.

The use of equipment for the presentation of evidence or of evidence other than documents
and enlargements of documents at trial must have an order authorizing the bringing in of that
equipment into the courthouse. An order must be presented to the Courtroom Deputy Clerk
prior to the pretrial conference. The order should identify the case by style and case
number, a list of each piece of equipment and who will be bringing the equipment into the
building. These orders must be on file with the U.S. Marshal's office before the equipment can
be taken into the court area.
     Case 1:18-cr-00309-LMM-LTW Document 131 Filed 09/22/21 Page 2 of 3




                                                                      Page 2



Counsel MUST provide a courtesy copy of any documents e-filed just prior to
trial or on any day during trial.

October 21, 2021



  ATTORNEYS
  CASE NUMBER                     STYLE OF CASE         NATURE OF
                                                        OFFENSE/CAUSE
  (1)
  1:20-cr-126-LMM-JSA-1
  Jeffrey Aaron Brown, AUSA       USA
  Sekret T. Sneed, AUSA
                                  v.
                                                        Fraud
  Rodney Williams, Retained       THOMAS ADDAQUAY (1)
  Robert Daniel, Retained

  Eileen N. Moorman, Retained     NANA ADDAQUAY (2)
  Jackie G. Patterson, Retained
                                  SACOYA LYONS (3)
  Mark J. Issa, Retained
  Molly H. Parmer, Retained

  (2)
  1:18-cr-309-LMM-LTW
                                  USA
  Alex R. Sistla, AUSA
  Samir Kaushal, AUSA             v.                    Fraud


  Suzanne Hashimi, FDP            CHALMER DETLING, II
  Caitlyn V. Wade, FDP




Dated: September 22, 2021
s/Brittany Poley_
Courtroom Deputy Clerk
for Judge Leigh Martin May
404-215-1514
     Case 1:18-cr-00309-LMM-LTW Document 131 Filed 09/22/21 Page 3 of 3




                     IN THE UNITED STATE DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


                         CLERK'S CERTIFICATE OF SERVICE

       I, Kevin P. Weimer, Clerk of the United States District Court for the Northern District

of Georgia, at Atlanta, Georgia, hereby certify:

       1.     That pursuant to instructions for the United States District Judges and in the

performance of my duties as Clerk, there was mailed to each of the defendants named on the

attached Criminal Notice filed herein, or as otherwise appearing in the files in such cause

except where the address is unknown, a Notice of Criminal Trial for October 21, 2021, a true

copy of which is attached hereto;

       2.     That the attached Notice was also mailed or electronically transmitted to each

Defendant's counsel and to each Defendant's surety;

       3.     That such Notice was enclosed and sealed in envelopes bearing the lawful frank

of the United States District Court or containing the official Notice of Electronic Filing.

       4.     That said envelopes were delivered to and deposited in the regular mails of the

United States Postal Service in the City of Atlanta in said District on September 22, 2021.



                                            KEVIN P. WEIMER, CLERK

                                            BY:     s/Brittany Poley_
                                                    Deputy Clerk
